                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                     CIVIL CASE NO. 1:10-cv-00159-MR



SOCIEDAD ESPANOLA de ELECTROMEDICINA )
Y CALIDAD, S.A.,                          )
                                          )
                            Plaintiff,    )
                                          )
              vs.                         )
                                          )
                                          )
BLUE RIDGE X-RAY COMPANY, INC.,           )
DRGEM USA, INC. and DRGEM CORPORATION, )
                                          )
                       Defendants.        )
_________________________________________ )


                      CLAIM CONSTRUCTION ORDER

      THIS MATTER is before the Court on the Parties’ Claim Construction

Briefs.

I.    FACTUAL AND PROCEDURAL BACKGROUND

      This is an action for patent infringement brought by Sociedad

Espanola de Electromedicina Y Calidad, S.A. (Sedecal) against Blue Ridge




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X-Ray Company, Inc. (Blue Ridge X-Ray), Drgem USA, Inc. (Drgem USA),

and Drgem Corporation (Drgem Corp.).1 [Doc. 1].

      Sedecal is a Spanish corporation, which designs and sells X-ray and

digital radiography equipment for use in the medical industry. [Doc. 49 at

3]. The First Amended Complaint alleges one claim for patent infringement

based on Patent No. 6,642,829 (the ‘829 Patent), a patent for a high

voltage transformer owned by Sedecal by assignment from the inventor, a

Sedecal employee. [Doc. 21 at 4].

      Drgem USA is a Florida corporation and a subsidiary of its parent

company Drgem Corp., a South Korean corporation. [Id. at 2]. Drgem

Corp. is alleged to have infringed the ‘829 Patent by manufacturing, selling

and exporting for sale X-ray generator products which infringe one or more

claims of the ‘829 Patent. [Id.]. Drgem USA is alleged to have infringed

the patent by selling these allegedly infringing Drgem products to Blue

Ridge X-Ray. [Id. at 4-5].

      Blue Ridge X-Ray is a North Carolina corporation doing business in

Arden which sells X-ray and digital radiography equipment, including


1
 This action was originally brought by two plaintiffs, Sedecal and Sedecal USA, Inc.
(Sedecal USA). [Doc. 1]. By First Amended Complaint filed on November 1, 2010,
Sedecal, USA was deleted as a plaintiff.

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Sedecal and Drgem products. [Id.]. Blue Ridge X-Ray is alleged to have

infringed the ‘829 Patent by selling and importing for sale the allegedly

infringing Drgem products. [Id. at 4].

      For relief, Sedecal seeks a declaration of infringement, injunctive

relief against further infringement, and damages. [Id. at 6-7]. Sedecal’s

sole claim is pursuant to the Patent Act, 35 U.S.C. §§ 1, et. seq. [Id.].

There are no state law claims or licensing issues. [Id.].

      In their Answer and Counterclaims, the Defendants have raised the

affirmative defenses of patent invalidity and failure to mark the products

with the patent, thus depriving the Plaintiff of any right to damages pursuant

to 35 U.S.C. § 287. [Doc. 27]. They also counterclaimed for a declaration

of non-infringement and invalidity. [Id.].

      The parties complied with all stages of the Amended Utility Patent

Claim Construction Scheduling Order. [Doc. 37]. A hearing was conducted

at the request of the parties and the matter is now ripe for claim

construction.

II.   THE PATENT

      The ‘829 Patent relates to a high-voltage transformer for use in the

medical industry to generate X-ray images. [Doc. 46 at 7]. Specifically, the

‘829 Patent discloses an invention which reduces the size and cost of
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typical medical transformers by arranging the components of the

transformer in two differentiated groups. [Id. at 9].

III.   THE PRINCIPLES OF CLAIM CONSTRUCTION

       The first step in making a determination of patent infringement is a

construction of the claims of the patent in order to determine the scope of

each claim. Bell Atlantic Network Services, Inc. v. Covad Communications

Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). This determination,

called claim construction, is a question of law for the Court. Id.; Markman

v. Westview Instruments, Inc., 52 F.3d 967, 970-71 (Fed. Cir.), aff’d, 517

U.S. 370, 116 S.Ct. 1384, 134 L.Ed.2d 577 (1996). Claim construction

involves determining what the language of the claims mean.          Id. Only

when the claim is properly understood can a determination be made as to

whether it reads on an accused device or is invalid. Id.

       As the Federal Circuit has explained, “[t]here is a heavy presumption

that the terms used in claims mean what they say and have the ordinary

meaning that would be attributed to those words by persons skilled in the

relevant art.” SuperGuide Corp. v. DirectTV Enters., Inc., 358 F.3d 870,

874-75 (Fed. Cir. 2004) (internal quotation marks and citations omitted). A

person skilled in the art will read the claim terms in the context of not only

the claims in dispute but also in the context of the entire patent, including
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the specification and prosecution history. Phillips v. AWH Corp., 415 F.3d

1303, 1313 (Fed. Cir.), cert. denied, 546 U.S. 1170, 126 S.Ct. 1332, 164

L.Ed.2d 49 (2006). Specifically, “claim terms take on their ordinary and

accustomed meanings unless the patentee demonstrated an intent to

deviate from the ordinary and accustomed meaning of a claim term by

redefining the term or by characterizing the invention in the intrinsic record

using words or expressions of manifest exclusion or restriction,

representing a clear disavowal of claim scope.” Super Guide, 358 F.3d at

875 (citation omitted). “The written description, however, is not a substitute

for, nor can it be used to rewrite, the chosen claim language.

Specifications teach.     Claims claim.     Though understanding the claim

language may be aided by the explanations contained in the written

description, it is important not to import into a claim limitations that are not a

part of the claim.” Id. (internal quotation marks and citations omitted).

      “In construing claims, the analytical focus must begin and remain

centered on the language of the claims themselves, for it is that language

that the patentee chose to use to particularly point[ ] out and distinctly

claim[ ] the subject matter which the patentee regards as his invention.”

Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331

(Fed. Cir. 2001) (internal quotation and citation omitted). “It is well-settled
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that, in interpreting an asserted claim, the court should look first to the

intrinsic evidence of record, i.e., the patent itself, including the claims, the

specification and, if in evidence, the prosecution history.”          Vitronics

Corporation v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

The prosecution history includes evidence of how the Patent and

Trademark Office (PTO) and the inventor understood the patent and may

also show whether the inventor disclaimed any particular interpretation

during the prosecution process. Phillips, 415 F.3d at 1317; Chimie v. PPG

Indus., Inc., 402 F.3d 1371, 1384 (Fed.Cir. 2005). “Such intrinsic evidence

is the most significant source of the legally operative meaning of disputed

claim language.” Vitronics, 90 F.3d at 1582.

      “The role of the specification includes presenting a description of the

technologic subject matter of the invention, while the role of claims is to

point out with particularity the subject matter that is patented.” Netword,

L.L.C. v. Centraal Corportion, 242 F.3d 1347, 1352 (Fed. Cir. 2001). “The

construction that stays true to the claim language and [that] most naturally

aligns with the patent’s description of the invention will be, in the end, the

correct construction.” Renishaw P.L.C. v. Marposs Societa’ per Axioni, 158

F.3d 1243, 1250 (Fed. Cir. 1998).


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      Where the claim language and specification provide an unambiguous

construction, it is unnecessary to consult the prosecution history.

Interactive Gift, 256 F.3d at 1334.       Otherwise, the prosecution history

should be consulted to ascertain if the inventor made any express

representations in obtaining the patent regarding its scope and the

meaning of the claims. Bell Atlantic, 262 F.3d at 1269. Only as a last

resort should extrinsic evidence, such as expert witness testimony or

learned treatises, be consulted. “In those cases where the public record

unambiguously describes the scope of the patented invention, reliance on

any extrinsic evidence is improper.” Vitronics, 90 F.3d at 1583.

IV.   DISCUSSION

      A.   Claim 1

      Claim 1 of the ‘829 Patent is an independent claim. Each of the other

six claims is dependent on Claim 1. See 35 U.S.C. § 112 (“a claim in

dependent form shall contain a reference to a claim previously set forth and

then specify a further limitation of the subject matter claimed”). Claim 1

reads as follows:




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    What is claimed is:

    1.   A high voltage transformer having a plurality of
    elements for voltage transformers, said elements
    comprising:

    a high voltage transforming means,

    a rectifier,

    a filter,

    a resistive divider,

    a high voltage switch,

    a magnetic core,

    a low voltage input,

    wherein each rectifier, filter, resistive divider, high
    voltage switch, magnetic core, has a first end and a
    second end,

    each first end being connected to zero voltage
    level,

    each second end being opposite to each first end;
    said rectifiers, filters, resistive dividers, high voltage
    switches, magnetic cores, are arranged in two
    differentiated groups,

    a first group comprising positive voltage elements and

    a second group comprising negative voltage
    elements; the positive voltage elements are
    separated from the negative voltage elements by
    solid insulating means in two insulated
    chambers;
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            voltage towards the second end in each of said
            elements: progressively increases in the positive
            voltage elements and;

            progressively decreases in the negative voltage
            elements; so that, at an equal distance from zero
            voltage level, the elements of each group have
            equipotential voltages.

[Doc. 21-1, col.4 ll. 40-67; col.5 ll. 1-4] (emphasis added).

      The parties agree that the term “a high voltage switch” means “a high

voltage connector receptacle such as an anode or cathode connector

receptacle.”   [Doc. 45 at 2]. They also agree that the term “each first end

being connected to zero voltage level” means “each first end of the rectifier,

filter, resistive divider, high voltage switch, and magnetic core are

electrically connected to the zero voltage level.” [Id.]. In light of the parties’

agreement regarding these terms, the Court will adopt their proposed

construction of these terms.

      The other bolded terms, however, remain in dispute. Sedecal argues

that the entire clause “the positive voltage elements are separated from the

negative voltage elements by solid insulating means in two insulated

chambers” is that which must be construed, and it would define the phrase

as: “the first group of positive elements is electrically separated from the

second group of negative voltage elements by a solid non-conductive
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insulating body into two electrically insulated compartments.” [Doc. 46 at

12-13].

      Sedecal has not explained why this clause should be construed as a

whole, although it is noted that such a construction would support their

theory (discussed infra) that this is not a means-plus-function claim.

Moreover, Sedecal has not cited any law which would support construing

the entire phrase as opposed to the specific terms therein. Indeed, at the

hearing, Sedecal conceded that construction of this clause, either as a

whole or broken down into two separate phrases, would be legally correct.

      The Defendants argue that there are two terms within this phrase

which must be construed: “solid insulating means” and “two insulating

chambers.” Because the patentee used the term “means,” they argue this

is a means-plus-function claim, with the function claimed by the patent

being “insulating and separating the positive voltage elements from the

negative voltage elements”2 and the corresponding structure as one solid

insulating barrier, which the Defendants contend is not identified in the

patent.



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 Actually, the Defendants’ proposed construction accords with Sedecal’s argument that
the positive and negative voltage elements are “separated.”

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      The Defendants would also have the Court separately construe the

term “two insulated chambers” as meaning two different chambers that are

isolated and insulated from each other. [Doc. 46 at 13].

      The parties do not dispute the meaning of any other terms in Claim 1.

      1.    Whether the phrase “solid insulating means” in Claim 1 is
            a means-plus-function claim.

      There must first be a determination of whether the claim is stated in a

means-plus-function format.        Biomedino, LLC v. Waters Technologies

Corp., 490 F.3d 946 (Fed.Cir. 2007), cert. denied, 552 U.S. 1039, 128 S.Ct.

653, 169 L.Ed.2d 510 (2007). If it is, the Court must identify the function

claimed and then identify the corresponding structure in the description of

the patent. Id.

      Paragraph 6 of § 112 provides that an element in a claim may be

expressed as a means or step for performing a specified function without

reciting the structure itself.   “When a claim uses the term ‘means’ to

describe a limitation, a presumption inheres that the inventor used the term

to invoke §112, ¶6.” Id. at 950.     “This presumption can be rebutted when

the claim, in addition to the functional language, recites structure sufficient

to perform the claimed function in its entirety.” Id.; Envirco Corp. v. Clestra

Cleanroom, Inc., 209 F.3d 1360, 1364-65 (Fed. Cir. 2000). Where the

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presumption is not rebutted and if there is no structure in the specification

corresponding to the means-plus-function limitation, the claim will be found

invalid. Biomedino, 490 F.3d at 950.

      On the other hand, even if the presumption is not rebutted, “the

patentee is allowed to claim a limitation in broad functional language,

provided that the specification indicates what structure constitutes the

means for performing the claimed function.” Dealertrack, Inc. v. Huber, 674

F.3d 1315, 1328-29 (Fed.Cir. 2012) (internal quotation and citation

omitted). “[T]his is not a high bar: all one needs to do in order to obtain the

benefit of [the statute] is to recite some structure corresponding to the

means in the specification ... so that one can readily ascertain what the

claim means and comply with the particularity requirement of [the statute].”

Biomedino, 490 F.3d at 950.       The “specification must contain sufficient

descriptive text by which a person of skill in the field of the invention would

know and understand what structure corresponds to the means limitation.”

Typhoon Touch Technologies, Inc. v. Dell, Inc., 659 F.3d 1376, 1384

(Fed.Cir. 2011).

      The Defendants argue that this is a means-plus-function claim in

which the presumption has not been rebutted. Specifically, they contend

that the use of the word “solid” in the term “one solid insulating means” is
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merely an adjective which does not identify a structure and that the word

“insulating” refers only to the function, not a structure. The claim, they

argue, does not specify the exact structure that performs the function at

issue and thus the disputed claim term must be interpreted as a means-

plus-function limitation.

      Sedecal counters that the claim itself recites the function of insulating

but also specifies a structure within the claim to perform that function, thus

removing the claim from the means-plus-function format. Sedecal argues

that the noun “solid” is the structure recited in the claim. According to

Sedecal,

            the words “solid insulating means” identifies the
            structure of a solid material which is sufficient
            structure for insulating. In other words, because a
            solid material by itself is sufficient structure for
            performing an insulating function, the term “solid” on
            its own rebuts any presumption that §112, ¶6
            applies to this limitation.

[Doc. 46 at 17].

      Contrary to Sedecal’s argument, the word “solid” is used as an

adjective which describes the function, and is not used as a noun

identifying a structure. See Biomedino, 490 F.3d at 950 (in the phrase

“control means,” the word “control” is an adjective not a noun capable of

performing the identified function); Elbex Video, Ltd. v. Sensormatic
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Electronics Corp., 508 F.3d 1366, 1370 (Fed.Cir. 2007) (receiving means is

a means-plus-function claim); Envirco, 209 F.3d at 1365 (second baffle

means outside scope of statute because second is an adjective but baffle is

the structure); LSI Industries, Inc. v. ImagePoint, Inc., 279 Fed. App’x. 964

(Fed.Cir. 2008) (channel means referred to the structure of a channel). In

this case, there is “no recourse but to turn to the [‘829 Patent’s]

specification to derive a structural connotation for the generically claimed”

solid insulating means. Welker Bearing Co. v. PHD, Inc., 550 F.3d 1090,

1096 (Fed.Cir. 2008).     Moreover, Sedecal did not argue that the word

“solid” would call to mind a single well-defined structure to one who is

skilled in the art. See Apex, Inc. v. Raritan Computer, Inc., 325 F.3d 1364,

1372 (Fed.Cir. 2003), cert. denied 540 U.S. 1073, 124 S.Ct. 922, 157

L.Ed.2d 742 (2003); Hubbell, Inc. v. Pass & Seymour, Inc., 781 F.Supp.2d

67 (D.Conn.), appeal dismissed 459 Fed. App’x. 901 (Fed. Cir. 2011). In

fact, its argument would be stronger if the phrase were “solid means” rather

than “solid insulating means.”

      Sedecal also argues, however, that the words “solid insulating

means” sufficiently identifies the structure described in the specification and




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drawings.3 The specification describes the invention as unique because

the elements of the transformers are arranged in “two differentiated groups,

on the one hand the elements having positive voltage[s] and, on the other,

the elements having negative voltages, both groups being separated by

insulating means.” [Doc. 21-1 at Col.2 ll.21-24]. The claim itself, however,

does not articulate the structure to accomplish the function of insulating and

because of that, Sedecal’s argument fails. TriMed, Inc. v. Stryker Corp.,

514 F.3d 1256, 1260 (Fed. Cir. 2008), cert. denied, 555 U.S. 824, 129 S.Ct.

144, 172 L.Ed.2d 39 (2008). “Sufficient structure exists when the claim

language specifies the exact structure that performs the functions in

question without need to resort to other portions of the specification or

extrinsic evidence for an adequate understanding of the structure.”4 Id.




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 Sedecal also argues that the Background of the Patent has three examples of means
to provide electrical insulation: using a liquid or gaseous fluid; using solid insulating
parts and vacuum encapsulating the entire transformer. [Doc. 46 at 17]. The Patent,
however, lists these three conventional means of insulating transformers as
burdensome because they require the transformer to be large. [Doc. 21-1 at Col.3 ll. 20-
40]. The whole purpose of the patent was to reduce the size of the transformers
through the arrangement of the voltage elements and use of a “solid insulating means.”
4
 In fact, every case cited by Sedecal contains this same distinction. Rodime PLC v.
Seagate Tech., Inc., 174 F.3d 1294, 1302 (Fed. Cir.), cert. denied, 528 U.S. 1115, 120
S.Ct. 933, 145 L.Ed.2d 812 (2000) (the claim specified the structure); Cole v. Kimberly-
Clark, 102 F.3d 524 (Fed. Cir.), cert. denied, 522 U.S. 812, 118 S.Ct. 56, 139 L.Ed.2d
20 (1997) (same).

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Sedecal, therefore, has failed to rebut the presumption that this is a means-

plus-function claim and the claim must be construed in that manner.

      2.    Construing a means-plus-function claim.

      Having construed the claim limitation as a means-plus-function

limitation, the Court must now (1) identify the function and (2) determine

whether the specification identifies the corresponding structure for that

function.   Biomedino, 490 F.3d at 950.        If there is no corresponding

structure, then the claim is invalid as indefinite and, in this case, the entire

patent would fail since all the other claims depend on Claim 1. The parties

do not dispute that the function is insulating and separating the positive

voltage elements from the negative voltage elements.           At issue is the

structure that is indicated to accomplish this function.

      In the Description of the Invention, the invention’s value is stated in

terms of the distance between the two groups of positive versus negative

voltages:

            Thus, by means of the invention, as the elements
            are designed such that their voltage levels are in
            accordance with the area of potential which they
            occupy, it is possible to bring the elements nearer to
            each other, so that the volume is considerably
            reduced and, thus, the insulator filling the inside of



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             the housing or tank of the transformer, is
             considerably reduced.5 As a consequence of this
             reduction of the volume, a considerable reduction of
             the weight is achieved, due to the fact that the tank
             is of smaller dimensions and a smaller quantity of
             filling insulator is required.
                                          ...
             The insulating means separating the two groups of
             elements, are established by one single solid
             insulating means, a fact which considerably
             simplifies the assembly of the various elements of
             the transformer at the same time as it reduces its
             cost.

[Doc. 21-1,col. 2 ll. 42-52; col. 3 ll. 1-5].

      In the Description of the Preferred Embodiment of the Invention, there

is first a description of the two separate groups of positive and negative

voltages. Then, the following description is made of the insulating means:

             Between both groups, there is arranged a solid
             insulating means (6) furnishing correct insulation
             between the two groups, whereas insulation
             between the various elements of each group is
             achieved by means of a fixing to “zero voltage” or
             ground level on the upperside, which is
             progressively increased towards the lower end in
             the elements with positive voltage and which
             progressively decreases in the elements with
             negative voltages, in such a way that at one same

5
 This obviously refers to an insulator filling that serves a purpose different from the
insulating function which is to be construed. Even in the preferred embodiment of the
invention, there must be insulating oil inside the tank or housing of the transformer.
[Doc. 21-1 at Col. 4 ll. 27-30]. Since the intended transformer is designed to be
substantially smaller, considerably less of that insulating liquid would be required. Id.

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             distance from ground level, the elements of each
             group have equal voltages[.]

[Doc. 21-1, col. 3 ll. 59-61; col. 4 ll. 27-39].

      In construing a means-plus-function claim, “the specification must

contain sufficient descriptive text by which a person of skill in the field of the

invention would ‘know and understand what structure corresponds to the

means limitation.’” Typhoon Touch, 659 F.3d at 1383-84 (quoting Finisar

Corp. v. DirectTV Group, Inc., 523 F.3d 1323, 1340 (Fed.Cir.), cert. denied

555 U.S. 1070, 129 S.Ct. 754, 172 L.Ed.2d 727 (2008)); DealerTrack,

supra.; Telcordia Technologies, Inc. v. Cisco Systems, Inc., 612 F.3d 1365

(Fed.Cir. 2010).     At the hearing on this matter, Sedecal presented the

testimony of Oscar Khutoryansky who was allowed to testify as an expert

for purposes of the Markman hearing only. He testified that persons skilled

in the art would understand the claim “solid insulating means” as two

electrically insulated chambers which are not physically isolated. 6 [Doc. 46-

2 at 4]. Sedecal, therefore, claims the entire clause must be construed as:

“the first group of positive elements is electrically separated from the

second group of negative voltage elements by a solid non-conductive


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  The Court, however, considers this testimony only as to what a person skilled in the
art would understand and thus does not consider extrinsic evidence.

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insulating body into two electrically insulated compartments.”           The

Defendants argue, on the other hand, that the proper construction for “solid

insulating means” is “one solid insulating barrier as described and depicted

in the ‘829 patent.”

      Clearly, the function is to separate the elements and to insulate them.

The word “solid” is used as an adjective, not a noun. Therefore, the Court

construes the claim “solid insulating means” to mean an insulating barrier

of solid material.

      3.    Construing the equivalents of means-plus-function claim.

      Paragraph 6 of § 112 states that a claim phrased as a means-plus-

function claim must be construed to cover the corresponding structure

described in the specification “and equivalents thereof.” This means that

the claim must be construed to cover at least the structural embodiment in

the specification that corresponds to the function recited in the claim, as

well as other structures that are equivalent to that disclosed embodiment.

1 Moy’s Walker on Patents §4:92 (4th ed. 2011).




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      The parties dispute what such equivalents may be.7 The Defendants

argue, as discussed below, that the inventor disclaimed the full range of

equivalents in the patent prosecution, especially an interpretation of the

phrase that would allow for a gap between the top of the insulating means

and the cover of the transformer.

      Although this is discussed in greater detail below, “positions taken

before the PTO may bar an inconsistent position on claim construction

under §112, ¶6.” Cybor Corp. v. FAS Techs., Inc., 138 F.3d 1448, 1457

(Fed.Cir. 1998).    “Statements detailing the shortcomings of the relevant

prior art have often proved useful in construing means-plus-function

claims.” Ballard Medical Products v. Allegiance Healthcare Corp., 268 F.3d

1352, 1359 (Fed.Cir. 2001).

      4.     “Two Insulated Chambers”

      As previously noted, Sedecal argues that the term “two insulated

chambers” must be construed together to mean that “the first group of

positive voltage elements is electrically separated from the second group of

negative voltage elements by a solid non-conductive insulating body in two

7
 Sedecal at one point took the position that the disavowal of claims scope during the
prosecution history does not apply to means-plus-function claims. That position,
however, is wrong and Sedecal appears to have abandoned it. Cybor, 138 F.3d at
1457; Ballard, 268 F.3d at 1457.

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electrically insulated compartments.”     Sedecal would thus construe the

term “chambers” to mean “compartments.”

      Citing the prosecution history, the Defendants argue there must be a

separate construction of the phrase “two insulating chambers” as meaning

two different chambers that are isolated and insulated from each other.

They would thus add the word “isolated” to the construction.

      Sedecal argues that a person skilled in the art would understand that

“two insulated chambers” to mean electrically insulated; that is, two

electrically insulated compartments or chambers.        Isolation of the two

chambers from each other is not possible, it argues, because otherwise

insulating fluid cannot flow between the chambers.       There is, however,

nothing in the specification which calls for such a flow between chambers.

      A claim term is generally given its “ordinary and customary meaning,”

which is “the meaning that the term would have to a person of ordinary skill

in the art in question at the time of the invention.” Schindler Elevator Corp.

v. Otis Elevator Co., 593 F.3d 1275, 1282 (Fed. Cir. 2010) (quoting Phillips,

415 F.3d at 1313-14). “[T]he court looks to ‘those sources available to the

public that show what a person of skill in the art would have understood

disputed claim language to mean,’ ... includ[ing] ‘the words of the claims

themselves, the remainder of the specification, the prosecution history, and
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extrinsic evidence concerning relevant scientific principles, the meaning of

technical terms and the state of the art.’” Id. Here the language of the

claim itself clearly envisions two groups of elements, one with negative

voltage and the other with positive voltage. It also clearly states that the

two groups are separated in two insulated chambers. Since the patent

deals with voltage, Sedecal’s argument that the phrase should be

construed as electrically insulated chambers has a common sense appeal.

     The Defendants claim that these chambers must be enclosed and

isolated from each other, that is, physically separated. They base this, in

part, on their assertion that Sedecal’s current interpretation was disavowed

during the patent prosecution.

     As the Federal Circuit has explained:

           The prosecution history can often inform the
           meaning of the claim language by demonstrating
           how the inventor understood the invention and
           whether the inventor limited the invention in the
           course of prosecution, making the claim scope
           narrower than it would otherwise be.
                                      ...
           [A patentee] is not entitled to any interpretation that
           it disclaimed during prosecution. ... The doctrine of
           prosecution disclaimer attaches where an applicant,
           whether by amendment or by argument,
           “unequivocally disavowed a certain meaning to
           obtain his patent.” For example, an amendment
           that clearly narrows the scope of a claim, such as
           by the addition of a new claim limitation, constitutes
                                     22



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            a disclaimer of any claim interpretation that would
            effectively eliminate the limitation or that would
            otherwise recapture the claim’s original scope.

                                        ...
            An argument made to an examiner constitutes a
            disclaimer only if it is “clear and unmistakable.” An
            ambiguous disavowal will not suffice.

Id. at 1284-85 (citations omitted).

      As previously noted, such a disclaimer also applies to the positions

taken by an inventor before the PTO that a particular structure is not within

his invention when a means-plus-function claim is to be construed and the

doctrine of equivalents is involved. Omega Engineering, Inc. v. Raytek

Corp., 334 F.3d 1314, 1325 (Fed. Cir. 2003).

      The relevant portion of Claim 1 which was originally submitted to the

PTO was the following: “the elements with positive voltages (1-5 and 7) are

separated from the elements with negative voltages (1’-5’ and 7’) by solid

insulating means[.]” [Doc. 49-3]. The inventor then made a preliminary

amendment to the claim which was submitted to the PTO but he did not

amend that phrase.       [Doc. 49-4].      The PTO rejected the claim as

anticipated by US Patent 4,587,606 issued to Sanada (the Sanada Patent).

[Doc. 49-5]. In the Sanada Patent, the “two groups are separated from

each other by insulating means, namely the insulation oil[.]” [Id. at 3].

                                      23



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Because of the rejection, the inventor canceled the original Claim 1 and

resubmitted it to the PTO.        The new claim added the words “in two

insulated chambers.” [Doc. 49-6 at 3]. The inventor made the following

arguments to the PTO to distinguish his invention from the Sanada Patent:

            Sanada ... describes a transformer wherein there
            are a plurality of positive and negative voltage
            windings, but in the arrangement of the windings in
            the Sanada transformer ... there is neither a
            discussion nor an illustration in any figure or the
            reference, of any insulating means to insulate the
            positive voltage windings from the negative voltage
            windings. ... [I]t is never stated or shown [in the
            Sanada Patent] that this insulating means
            constitutes the insulating means between the
            positive and negative voltage windings. This is
            noteworthy, as in the Sanada device, the positive
            and negative windings follow one after the other,
            whereas in the transformer of the present
            application, the positive and negative windings are
            located in two different and insulated chambers,8
            with the positive voltage windings arranged in one
            column and the negative voltage windings arranged
            in a different column, and the chambers themselves
            being insulated by solid insulating means.


            Another advantage of the present invention over the
            invention described in Sanada is the fact that the
            point where all elements are connected ... is easily
            accessible in the present application as it is clearly


8
 This language alone would seem to defeat Sedecal’s argument that the phrase should
be construed to mean electrically insulated as opposed to physically separate.

                                        24



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            and unambiguously shown in the figures. This is
            considered to be a particular advantage of the
            arrangement of the positive and negative voltage
            windings in the transformer of the instant invention,
            in two different and isolated chambers.

[Doc. 49-6 at 6] (emphasis in original). The PTO allowed this new claim

and included in the patent is Figure 3 which certainly appears to have two

different and separate chambers which are both insulated and isolated from

each other. [Doc. 21-1 at 4].

      Sedecal disputes this construction by citing Figure 1 in the patent

which “shows a schematic top plan view of a possible embodiment of the

transformer of the invention. In this figure the upper surface or cover of the

housing or tank of the transformer has been removed.” [Doc. 21-1 at 6].

Sedecal argues that Figure 1 shows a magnetic core (7) running across the

top of the two chambers and passing over the solid insulating means (6).

This, it argues, provides a gap between the insulating means and the cover

of the transformer which therefore means that the two chambers are not

isolated. Sedecal also cites the expert testimony of Oscar Kutoryansky,

who opined that the chambers are not “completely isolated.” According to

Kutoryansky’s declaration,

            [a] person of ordinary skill in the art would
            understand that the insulating means ... does not
            completely isolate the chambers because the
                                     25



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             magnetic core ... will always be formed as a
             continuous loop in a high voltage transformer a
             portion of which is shown in figure 1. This closed
             loop structure is necessary because magnetic flux
             must have closed circuit continuity. Therefore, a
             person skilled in the art would know that the solid
             insulating means does not extend to the very top or
             bottom of the transformer housing ... and cannot
             completely isolate the chambers on the top and the
             bottom of the transformer.        This also permits
             insulating oil to pass between the two chambers.9

[Doc. 46-2 at 4].

      The Defendants aptly point out that this interpretation is directly

contrary to Sedecal’s desired construction of Claim 1: “the first group of

positive elements is electrically separated from the second group of

negative voltage elements by a solid non-conductive insulating body into

two electrically insulated compartments.”             (emphasis added).          If the

magnetic core is a ring-like continuous loop traversing the solid insulating

means, the two groups will be electrically connected rather than electrically

separated.

      The Defendants also correctly note that the inventor distinguished his

invention from the Sanada Patent in his prosecution of the Patent by

9
 There is nothing in the patent specification or the claims which describes any such
feature running between chambers. Instead, the patent specifies that the inside of the
tank or housing contains insulating oil but there is no mention of oil transferring back
and forth between the chambers.

                                          26



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arguing that the claim sets out “two different and insulated chambers” and

“two different and isolated chambers.”     [Doc. 49-6 at 6].    Offering   a

narrower construction of the claim during the prosecution of the patent in

order to overcome prior art is an indication that the patentee “clearly and

unmistakably disclaimed the territory between the full ordinary meaning of

the claim language and the asserted new meaning.” Omega Engineering,

334 F.3d at 1327; Purdue Pharma L.P. v. Endo Pharmaceuticals, Inc., 438

F.3d 1123, 1136 (Fed.Cir. 2006). “[P]ositions taken before the PTO may

bar an inconsistent position on claim construction[.]” Alpex Computer Corp.

v. Nintendo Co., 102 F.3d 1214, 1221 (Fed.Cir. 1996), cert. denied, 521

U.S. 1104, 117 S.Ct. 2480, 138 L.Ed.2d 989 (1997); Thomas v. Motorola,

Inc., No. 3:05cv493-RJC, 2008 WL 619195, at *1 n.5 (W.D.N.C. Feb. 28,

2008) (holding that claim construction could not broaden claim disavowed

during prosecution where PTO rejected claim as unpatentable over two

prior art references and inventor amended claims to narrow and distinguish

the prior art).

      The PTO rejected the phrase “solid insulating means” because the

Sanada Patent used the words “insulating means.”         The inventor then

added “solid insulating means in two insulated chambers.” In explaining to

the PTO that which distinguished his invention from Sanada, he explicitly
                                    27



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stated that his patent included “two different and insulated chambers” and

“two different and isolated chambers.”10

       Neither the drawings nor the specification depicts the design now

urged by Sedecal.         Although Sedecal argues that it is possible for the

magnetic core to pass through each chamber, none of the drawings shows

that. The drawings show the magnetic core as crossing the top of the

insulating means (6) but not inside each chamber.                   It is also unclear

whether each chamber is completely enclosed. Although Sedecal argues

that insulating oil passes between the chambers, the specification does not

indicate this in any way. The only reference in the specification is to the

insulating oil used inside the tank, that is, the housing. [Doc. 21-1 col. 4 ll.

27-30]. “[P]atent drawings do not define the precise proportions of the

elements.” Hockerson-Halberstadt, Inc. v. Avia Group Int’l, Inc., 222 F.3d

951, 956 (Fed. Cir. 2000).          Thus, shapes in patent drawings may not

provide a basis for expanding the plain meaning of claim terms.                        Id.;

Nystrom v. TREX Co., Inc., 424 F.3d 1136 (Fed. Cir. 2005) (finding district


10
  Sedecal argues that this was not an unambiguous disclaimer because the inventor did
not use the word “completely” to describe “isolated.” The absence of the word
“completely,” however, cannot be reasonably interpreted to imply only a partial isolation.
Either something is completely isolated or it is not; interpreting “isolated” to somehow
indicate only a “partial” isolation is to give the word “isolation” other than its ordinary
meaning.

                                            28



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court erred in relying on models made from drawings contained in patent);

Benetton Sportsystem USA, Inc. v. First Team Sports, Inc., 38 F. App’x.

599 (Fed. Cir. 2002) (holding that patent drawings do not define elements

and may not be relied on to limit claims to that specific configuration where

specification is silent); Franklin Elec. Co., Inc. v. Dover Corp., No. 2006-

1442, 2007 WL 634430 (Fed. Cir. Mar. 1, 2007) (patent drawings show

preferred embodiment but could not be read into claim as limitation).

      In summary, Sedecal has not provided any law in support of

construing the entire element in Claim 1 as opposed to the disputed terms

“by solid insulating means in two insulated chambers.” This is a means-

plus-function claim. The function claimed by the patent “is insulating and

separating the positive voltage elements from the negative voltage

elements.”    The advantage of the invention is the ability to separate

negative and positive voltage elements in close proximity in order to reduce

the size and weight of the transformer. All of the elements are enclosed in

the housing of the preferred embodiment but the voltage groups are

“separated” by an insulating barrier of solid material which separates and

insulates two different chambers. The drawings within the patent show two

different chambers that are insulated from each other separated by an

insulating barrier of solid material.
                                        29



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      The Court thus construes the term “two insulated chambers” claim as

two different chambers that are insulated from each other.

      B.     Dependent Claim 6

      The language in this dependent claim which is in dispute is the

following:

             A high voltage transformer according to claim 1,
             wherein the two groups are separated by a single
             solid insulating means.

[Doc. 21-1 at Col.6 ll.6-7].

      The parties renew their arguments concerning whether this is a

means-plus-function claim but, in the end, they agree that the claim refers

to “one” solid insulating means. In addition, as the Defendants argue, the

drawings show only one solid insulating means. The claim is nonetheless

invalid, they argue, because it adds nothing to Claim 1. Sedecal argues

that the term “a single solid insulating means” should be construed to mean

one solid non-conductive insulator body.

      Claim 1 does not necessarily dictate that the barrier be a unitary

single item. Therefore, Claim 6 is not invalid on the ground that it adds

nothing to Claim 1.      The parties agree, however, that only one solid

insulating barrier is involved in Claim 6. The Court therefore construes the

phrase “a single solid insulating means” as one solid insulating barrier.
                                      30



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      C.     Dependent Claim 7

      Claim 7 (with the disputed portions shown in bold) reads as follows:

             A high voltage transformer according to claim 1,
             further comprising means for minimizing stray
             capacitances11 between the first group elements
             and the second group elements, by arranging
             said groups so that only a very small surface of
             the first group is opposed to the second group.

[Doc. 21-1 at Col. 6 ll. 5-11] (emphasis provided).

      Sedecal argues that this is not a means-plus-function claim for the

same reasons as previously argued concerning Claim 1. Likewise, the

Defendants argue it is such a claim.               Sedecal also argues that no

construction of the claim is necessary because the meaning of the words is

obvious.

      As previously noted, the use of the word “means” gives rise to a

presumption that §112, ¶6 applies. The parties agree that the function is at

least “minimizing the stray capacitances between the first group elements

and the second group elements.” The Defendants argue the function is


11
  A “capacitance” is commonly defined as “the property of an electric nonconductor that
permits the storage of energy as a result of electric displacement when opposite
surfaces of the nonconductor are maintained at a difference of potential (as in a
capacitor), its measure being the ratio of the charge on either surface to the potential
difference between the surfaces and its value for a capacitor being the sum of the
combined values of its several dielectric plates.” Webster’s Third New International
Dictionary 330 (2002).

                                          31



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further defined by the last portion of the claim: “by arranging said groups so

that only a very small surface of the first group is opposed to the second

group.”

      Sedecal     argues     that   the   function   is   “minimizing   the   stray

capacitances between the first group elements and the second group

elements,” and that the second portion of the claim, “by arranging said

groups so that only a very small surface of the first group is opposed to the

second group,” is the structure that performs that function. Thus, it argues,

Claim 7 is not a means-plus-function claim.

      The Defendants counter that the claim does not define a structure

and the claim is therefore invalid pursuant to § 112 ¶ 2, which provides:

“The specification shall conclude with one or more claims particularly

pointing out and distinctly claiming the subject matter which the applicant

regards as his invention.”

      Since a patent is presumed to be valid, there must be clear and

convincing evidence of indefiniteness for the court to find the claim invalid.

Hearing Components, Inc. v. Shure, Inc., 600 F.3d 1357, 1366 (Fed. Cir.

2010).     When making this determination, general principles of claim

construction apply; however, the patent specification and prosecution

history remain the most important evidence. Oakley, Inc. v. Sunglass Hut
                                          32



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Int’l, 316 F.3d 1331, 1340-41 (Fed. Cir. 2003). “When a word of degree is

used the district court must determine whether the patent’s specification

provides some standard for measuring that degree.” Datamize, LLC v.

Plumtree Software, Inc., 417 F.3d 1342, 1351 (Fed.Cir. 2005). The Court

should also consult the written description in order to “determine whether

the patent’s specification supplies some standard for measuring the scope

of the phrase.” Id.

      The description of the preferred embodiment contains a description of

how the elements may be in close contact followed by the statement:

             Furthermore, as can be appreciated in FIG. 1, the
             surface of the elements of one group being opposed
             to the opposite surface of the elements of the other
             group, is minimum, such that the stray
             capacitances are minimized.

[Doc. 21-1 at Col.4 ll.16-19] (emphasis provided). The only other statement

in the specification regarding the arrangement of the elements is the

following:

             Another feature of the invention resides in the fact
             that it has means for minimizing the stray
             capacitance between the elements of one group
             and the elements of the other. These means are
             determined by the arrangement presented by the
             various elements of one group and the other; said
             elements are located in such a way that the surface
             of the elements of one group opposed to the

                                     33



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              surface of the elements of the other group, is
              minimum.

[Doc. 21-1 at Col. 3 ll. 6-13] (emphasis provided).

      The Federal Circuit has held that “[o]nly claims not amenable to

construction or insolubly ambiguous are indefinite.” Datamize, 417 F.3d at

1347. “A claim term is not indefinite just because ‘it poses a difficult issue

of claim construction.’” Star Scientific, Inc. v. R.J. Reynolds Tobacco Co.,

537 F.3d 1357, 1371 (Fed. Cir.), cert. denied, __U.S. __, 129 S.Ct. 1595,

173 L.Ed.2d 678 (2009) (internal quotation and citation omitted).

Nonetheless, “if reasonable efforts at claim construction result in a

definition that does not provide sufficient particularity and clarity to inform

skilled artisans of the bounds of the claim, the claim is insolubly ambiguous

and invalid for indefiniteness.”   Id.    Moreover, under claim construction

principles, dependent claims are presumed to have a narrower scope than

the independent claims on which they depend.          Enzo Biochem, Inc. v.

Applera Corp., 599 F.3d 1325, 1334 (Fed.Cir.), reh’g en banc denied, 605

F.3d 1347 (Fed.Cir.), cert. denied, __U.S. __, 131 S.Ct. 3020, 180 L.Ed.2d

844 (2011).

      The issue here is whether the specification, which uses the word

“minimum,” provides a standard for measuring the degree or scope of the

                                         34



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phrase “a very small surface.” Looking to that specification, it states that

the elements are located in such a way that the surface of the elements of

one group opposed to the surface of the other group is “minimum.” During

the hearing, the Defendants conceded that if the word “minimum” is

inserted into the construction of this claim, it is valid.

      In light of the Defendants’ concession, the Court concludes that the

claim is not so indefinite as to be incapable of construction and thus

construes this claim as a means-plus-function claim, with the function

defined as minimizing stray capacitances and the corresponding structure

as being an arrangement of the groups of elements so that the surface of

each group that is opposing the other group is minimum.



                                    ORDER

      IT IS, THEREFORE, ORDERED that the claim construction

contained herein shall govern the remaining proceedings of this action.

      IT IS FURTHER ORDERED that the parties shall conduct a

supplemental attorneys’ conference within fourteen (14) days of the entry of

this Order and submit to the Court proposed deadlines for inclusion in the

Utility Patent Pretrial Order and Case Management Plan within seven (7)

days thereafter.
                                        35



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IT IS SO ORDERED.

                                   Signed: August 15, 2013




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